            Case 2:23-cv-01641-MJP           Document 1      Filed 10/27/23        Page 1 of 22




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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9

10   AMAZON.COM, INC., a Delaware                         No.
     corporation; AMAZON.COM SERVICES LLC,
11   a Delaware limited liability company; and            COMPLAINT FOR DAMAGES
     NINTENDO OF AMERICA INC., a                          AND EQUITABLE RELIEF
12   Washington corporation,

13                             Plaintiffs,

14          v.

15   Individuals and/or Entities Doing Business as
     Certain Amazon Selling Accounts Identified in
16   SCHEDULES 11A          1B; and DOES 1-10,
                     A and 1B;

17                             Defendants.

18

19                                      I.      INTRODUCTION
20          1.      This case involves Defendants'
                                       Defendants’ unlawful and expressly prohibited sale of

21   counterfeit Nintendo amiibo cards and video game cartridges. Amazon.com, Inc. and

22   Amazon.com Services LLC (collectively, "Amazon")
                                            “Amazon”) and Nintendo (together with Amazon,

23   “Plaintiffs”) jointly bring this lawsuit to permanently prevent and enjoin Defendants from
     "Plaintiffs")

24   causing future harm to Amazon's
                            Amazon’s and Nintendo's
                                         Nintendo’s customers, reputations, and intellectual

25            (“IP”), and to hold Defendants accountable for their illegal actions.
     property ("IP"),

26          2.      Amazon.com Services LLC owns and operates the Amazon.com store (the

27   “Amazon Store”),
     "Amazon              Amazon’s affiliates own and operate equivalent counterpart international
             Store"), and Amazon's

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            Case 2:23-cv-01641-MJP          Document 1       Filed 10/27/23        Page 2 of 22




1                         Amazon’s stores offer products and services to customers in more than 100
     stores and websites. Amazon's

2    countries around the globe. Some of the products are sold directly by Amazon entities, while

 3                      Amazon’s numerous third-party selling partners. The Amazon brand is one of
     others are sold by Amazon's

4    the most well-recognized, valuable, and trusted brands in the world. To protect its customers and

 5   safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 6   to prevent counterfeit and infringing goods from being sold in its stores. In 2022 alone, Amazon

 7   invested over $1.2 billion and employed more than 15,000 people to protect its stores from fraud

 8   and abuse. Amazon stopped over 800,000 suspected bad-actor selling accounts before they

 9   published a single listing for sale.

10           3.      Nintendo of America Inc. established in 1980 and headquartered in Redmond,

11   Washington, is a wholly owned subsidiary of Nintendo Co., Ltd., a Japanese company

12   headquartered in Kyoto, Japan. Nintendo of America Inc. is responsible for the marketing and

13           Nintendo’s products, and the enforcement of Nintendo's
     sale of Nintendo's                                  Nintendo’s intellectual property rights in the

14   United States. Nintendo Co., Ltd. develops, and Nintendo of America Inc. markets and

15   distributes, electronic video game consoles, games, and accessories. Collectively, Nintendo of

16   America Inc. and Nintendo Co., Ltd. are referred to herein as "Nintendo."
                                                                   “Nintendo.” For decades, Nintendo

17   has been a leading developer and producer of video games and video game consoles. In 1983,

18   Nintendo released the Family Computer in Japan and, in 1985, released the Nintendo

19   Entertainment System, or "NES,"
                              “NES,” in the United States, which introduced millions of consumers

20   to now-classic games like Super Mario Bros., The Legend of Zelda, and Donkey Kong. The NES

21                                                            Nintendo’s original and long-lasting
     console also introduced millions of consumers to some of Nintendo's

22   characters, including Mario and Luigi, Yoshi, Link, Donkey Kong, and Samus Aran. Over the

23   ensuing decades, Nintendo followed up the popularity of the NES console with the release of

24   such groundbreaking home video game consoles as the Super Nintendo Entertainment System,

25   Nintendo 64, Nintendo GameCube, Wii, Wii U, and the Nintendo Switch, and groundbreaking

26   handheld video game consoles such as the Game Boy, Game Boy Color, Game Boy Advance,

27   Nintendo DS, Nintendo 3DS, the Nintendo Switch, and recently, the Nintendo Switch Lite (a

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1    sister console of the Nintendo Switch dedicated to handheld play). The Game Boy family of

2    consoles in particular is one of the most popular video game consoles ever released, and

 3   introduced consumers to landmark games like Tetris, Kirby's
                                                         Kirby’s Dream Land, and Pokemon.
                                                                                 Pokémon. Since

4    1983, Nintendo has sold more than 5.5 billion video games and more than 800 million hardware

 5   units globally.

 6           4.        Nintendo launched a toys-to-life platform called amiibo to enhance the gaming

 7   experience. It consists of a wireless communications and storage protocol for connecting

 8   figurines to the Wii U, Nintendo 3DS, and Nintendo Switch video game consoles. These toys use

 9   near field communication (NFC) to interact with supported video game software, potentially

10   allowing data to be transferred in and out of games and across multiple platforms. In 2015,

11   Nintendo began selling interactive amiibo cards. Tapping an amiibo card while playing

12   compatible Nintendo Switch, Nintendo 3DS, or Wii U systems uncovers surprising features for

13   the gamer, including unlocking new modes, weapons or character customizations, or boosting a

14   character’s abilities.
     character's

15           5.        Nintendo owns, manages, enforces, licenses, and maintains IP, including various

16   trademarks. Relevant to this Complaint, Nintendo owns the following registered trademarks

17   (“Nintendo Trademarks").
     ("Nintendo Trademarks”).

18
                              Mark                Registration No. (International Classes)
19
                          NINTENDO                          1,689,015 (16; 28; 37)
20

21                          Pokémon
                            Pokemon                             2,358,736 (16)
22

23                       IV dike 14 071                         2,515,001 (16)

24
                  SUPER SMASH BROS.                             2,578,692 (9)
25

26                 ANIMAL CROSSING                              2,803,207 (9)
27

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 1
                       Mark              Registration No. (International Classes)
                                         Retzistration
2
             THE LEGEND OF ZELDA                       3,408,725 (9)
3             TWILIGHT PRINCESS
4
             THE LEGEND OF ZELDA                       3,408,763 (9)
 5
             THE LEGEND OF ZELDA:                      3,447,655 (9)
6              OCARINA OF TIME
 7             NINTEND83DS                             4,234,454 (9)
 8
             SPLATOON                                  4,791,747 (9)
 9

10
                                                      4,863,365 (9; 28)
                     :• a      •t
11

12                    amiibo                           4,905,782 (28)
13
             THE LEGEND OF ZELDA:                      4,946,348 (9)
14              MAJORA’S MASK
                MAJORA'S

15
               atamiibos
               •
                                                   4,988,289 (9; 28; 41)
16
                ANIMAL CROSSING                        5,024,203 (28)
17

18           THE LEGEND OF ZELDA                       5,192,374 (28)
19
                    SPLATOON                           5,228,602 (28)
20

21               THE LEGEND OF
              ZELDABREATH OF THE                       5,277,680 (9)
22                    WILD
23
                   NINTENDO 3DS                    5,964,030 (9; 28; 41)
24

25                 SUPER MARIO                6,082,304 (14; 16; 18; 30; 41)

26                                     6,109,886 (14; 16; 18; 21; 24; 25; 28; 30; 32;
                   MARIOKART
                   MARIOICART
                                                           41)
27

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1
                           Mark                  Registration No. (International Classes)
2

 3                LINK’S
                  LINK'S AWAKENING                              6,110,151 (9)

4
                  ANIMAL CROSSING                          6,187,440 (16; 18; 25)
 5
                  SKYWARD SWORD                                 6,213,745 (9)
 6

 7                                              6,291,670 (3; 5; 9; 14; 16; 18; 20; 21; 24; 25;
                 THE LEGEND OF ZELDA                             28; 30; 41)
 8
                          ZELDA                                   2,345,332
 9

10                                                    6,829,861 (14; 16; 18; 25; 28; 41)
                         METROID
11

12   True and correct copies of the registration certificates for the Nintendo Trademarks are attached
13   as Exhibit A.
14          6.       Beginning in May 2017, Defendants registered with Amazon to sell in the
15   Amazon Store. At various times from March 2021 through April 2023, Defendants advertised,
16   marketed, offered, distributed, and sold counterfeit Nintendo products in the Amazon Store,
17         Nintendo’s Trademarks, without authorization, in order to deceive customers about the
     using Nintendo's
18                                                   products’ affiliation with Nintendo.
     authenticity and origin of the products and the products'
19          7.       As a result of their illegal actions, Defendants have infringed and misused
20   Nintendo’s IP; breached their contract with Amazon; willfully deceived and harmed Amazon,
     Nintendo's
21   Nintendo, and their customers; compromised the integrity of the Amazon Store; and undermined
22   the trust that customers place in Amazon and Nintendo. Defendants'
                                                            Defendants’ illegal actions have caused
23   Amazon and Nintendo to expend significant resources to investigate and combat Defendants'
                                                                                   Defendants’
24   wrongdoing and to bring this lawsuit to prevent Defendants from inflicting future harm to
25   Amazon, Nintendo, and their customers.
26

27

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            Case 2:23-cv-01641-MJP           Document 1       Filed 10/27/23        Page 6 of 22




1                                            II.     PARTIES

2            8.      Amazon.com, Inc. is a Delaware corporation with its principal place of business

 3   in Seattle, Washington. Amazon.com Services LLC is a Delaware company with its principal

4    place of business in Seattle, Washington.

 5           9.      Nintendo of America Inc. is a Washington corporation headquartered in

 6   Redmond, Washington.

 7           10.     Defendants are a collection of individuals and/or entities, both known and

 8   unknown, who conspired and operated in concert with each other to engage in the counterfeiting

 9   scheme alleged in this Complaint. Defendants are the individuals and entities who operated,

10   controlled, and/or were responsible for the selling accounts detailed in Schedules 1A and 1B

11   attached hereto ("Defendants'
                     (“Defendants’ Selling Accounts"
                                           Accounts” or "Selling
                                                        “Selling Accounts").
                                                                 Accounts”). Defendants are subject

12   to liability for their wrongful conduct both directly and under principles of secondary liability

13   including, without limitation, respondeat superior, vicarious liability, and/or contributory

14   infringement.

15           11.                                                          “Doe Defendants")
                     On information and belief, Defendants Does 1-10 (the "Doe Defendants”) are

16   individuals and/or entities working in active concert with each other and the named Defendants

17   to knowingly and willfully manufacture, import, advertise, market, offer, distribute, and sell

18   counterfeit Nintendo products. The identities of the Doe Defendants are presently unknown to

19   Plaintiffs.

20                                III.   JURISDICTION AND VENUE
21           12.     The Court has subject matter jurisdiction over Nintendo's
                                                                    Nintendo’s Lanham Act claim for

22   trademark infringement and counterfeiting, and Amazon's
                                                    Amazon’s and Nintendo's
                                                                 Nintendo’s Lanham Act claims

23   for false designation of origin and false advertising, pursuant to 15 U.S.C. § 1121 and 28 U.S.C.

24   §§ 1331 and 1338(a). The Court has subject matter jurisdiction over Amazon's
                                                                         Amazon’s breach of

25                      Amazon’s and Nintendo's
     contract claim and Amazon's     Nintendo’s claims for violation of the Washington Consumer

26   Protection Act, pursuant to 28 U.S.C. §§ 1332 and 1367.

27

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1           13.     The Court has personal jurisdiction over Defendants because they transacted

2    business and committed tortious acts within and directed to the State of Washington, and

 3   Amazon’s and Nintendo's
     Amazon's     Nintendo’s claims arise from those activities. Defendants affirmatively undertook

4    to do business with Amazon, a corporation with its principal place of business in Washington,

 5   and sold (or attempted to sell) in the Amazon Store products bearing counterfeit versions of the

 6   Nintendo Trademarks and which otherwise infringed Nintendo's
                                                       Nintendo’s IP. Additionally, certain

 7   Defendants shipped products bearing counterfeit versions of the Nintendo Trademarks to

 8   consumers in Washington. Each Defendant committed, or facilitated the commission of, tortious

 9   acts in Washington and has wrongfully caused Amazon and Nintendo substantial injury in

10   Washington.

11          14.     Further, the named Defendants have consented to the jurisdiction of this Court by

12   agreeing to the Amazon Services Business Solutions Agreement ("BSA"),
                                                                  (“BSA”), which provides that

13       “Governing Courts"
     the "Governing Courts” for claims to enjoin infringement or misuse of IP rights in the Amazon

14   Store are the state or federal courts located in King County, Washington.

15          15.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

16   substantial part of the events giving rise to the claims occurred in the Western District of

17   Washington. Venue is also proper in this Court because Defendants consented to it under the

18   BSA.

19          16.     Pursuant to Local Civil Rule 3(e), intra-district assignment to the Seattle Division

20   is proper because the claims arose in this Division, where (a) Amazon resides, (b) injuries giving

21   rise to suit occurred, and (c) Defendants directed their unlawful conduct.

22                                             IV.     FACTS
23          A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods
                    Amazon's
24          17.     Amazon works hard to build and protect the reputation of its stores as a place

25   where customers can conveniently select from a wide array of authentic goods and services at

26   competitive prices. Amazon invests vast resources to ensure that when customers make

27                Amazon’s stores—either directly from Amazon entities or from one of its millions
     purchases in Amazon's

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            Case 2:23-cv-01641-MJP          Document 1        Filed 10/27/23        Page 8 of 22




1                   sellers—customers receive authentic products made by the true manufacturer of
     of third-party sellers-customers

2    those products.

 3          18.     A small number of bad actors seek to take advantage of the trust customers place

4    in Amazon by attempting to create Amazon selling accounts to advertise, market, offer,

 5   distribute, and sell counterfeit products. These bad actors seek to misuse and infringe the

 6   trademarks and other IP of the true manufacturers of those products to deceive Amazon and its

 7   customers. This unlawful and expressly prohibited conduct undermines the trust that customers,

 8                                                             Amazon’s brand and reputation,
     sellers, and manufacturers place in Amazon, and tarnishes Amazon's

 9   thereby causing irreparable harm to Amazon.

10          19.     Amazon prohibits the sale of inauthentic and fraudulent products and is constantly

11   innovating on behalf of its customers and working with brands, manufacturers, rights owners,

12   and others to improve the detection and prevention of counterfeit products from ever being

13                           Amazon’s stores. Amazon employs dedicated teams of software
     offered to customers in Amazon's

14   engineers, research scientists, program managers, and investigators to prevent counterfeits from

15                    Amazon’s stores. Amazon's
     being offered in Amazon's         Amazon’s systems automatically and continuously scan

16   thousands of data points to prevent, detect, and remove counterfeits from its stores and to

17   terminate the selling accounts of bad actors before they can offer counterfeit products. When

18   Amazon identifies issues based on this feedback, it takes action to address them. Amazon also

19   uses this intelligence to improve its proactive prevention controls.

20          20.     In 2017, Amazon launched Brand Registry, a free service that offers rights owners

21   an enhanced suite of tools for monitoring and reporting potential instances of infringement,

22   regardless of their relationship with Amazon. Brand Registry delivers automated brand

23                                                                                         brands’ IP.
     protections that use machine learning to predict infringement and proactively protect brands'

24   Brand Registry also provides a powerful Report a Violation Tool that allows brands to search for

25   and report
     and report potentially
                potentially infringing products using
                            infringing products using state-of-the-art
                                                      state‐of-the‐art image
                                                                       image search
                                                                             search technology.
                                                                                    technology. In
                                                                                                In

26                                           Amazon’s automated protections, brands found fewer
     2022, through continued improvements in Amazon's

27

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            Case 2:23-cv-01641-MJP            Document 1     Filed 10/27/23        Page 9 of 22




1                           Amazon’s stores, with the number of valid notices of infringement
     infringing products in Amazon's

2    submitted by brands in Brand Registry decreasing by more than 35% from 2021.

 3          21.     In 2018, Amazon launched Transparency, a product serialization service that

4    effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can

 5   apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

 6   law enforcement, and customers to determine the authenticity of any Transparency-enabled

 7   product, regardless of where the product was purchased. In 2022, over 33,000 brands were using

 8   Transparency, an increase of 40% from 2021, enabling the protection of more than 900 million

 9   product units across the supply chain.

10          22.     In 2019, Amazon launched Project Zero, a program to empower brands to help

11   Amazon drive counterfeits to zero. Project Zero introduced a novel self-service counterfeit

12   removal tool that enables brands to remove counterfeit listings directly from Amazon's
                                                                                   Amazon’s stores.

13   This enables brands to take down counterfeit product offerings on their own within minutes. In

14   2022, there were more than 22,000 brands enrolled in Project Zero. For every listing removed by

15            Amazon’s automated protections removed more than 1,000 listings through scaled
     a brand, Amazon's

16   technology and machine learning, stopping those listings from appearing in Amazon's
                                                                                Amazon’s stores.

17          23.     Amazon continues to innovate to stay ahead of bad actors, and requires new and

18   existing selling partners to verify their identity and documentation. Amazon investigators review

19   the seller-provided identity documents to determine whether those documents are both valid and

20   legitimate, such as confirming that the seller has provided a fully legible copy of the document,

21   verifying that the document matches the information the seller provided to Amazon with respect

22   to their identity, and analyzing whether the document shows any signs of alteration, tampering,

23   or fabrication. These measures have made it more difficult for bad actors to hide. Amazon's
                                                                                        Amazon’s

24   seller verification, coupled with continued advancements in Amazon's
                                                                 Amazon’s machine learning-based

25   detection, are deterring bad actors from even attempting to create new Amazon selling accounts.

26   The number of bad actor attempts to create new selling accounts decreased from 6 million

27   attempts in 2020, to 2.5 million attempts in 2021, to 800,000 attempts in 2022.

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           Case 2:23-cv-01641-MJP            Document 1        Filed 10/27/23        Page 10 of 22




1            24.    Once a seller begins selling in Amazon's
                                                    Amazon’s stores, Amazon continues to monitor the

2            account’s activities for risks. If Amazon identifies a bad actor, it closes that actor's
     selling account's                                                                        actor’s selling

 3   account, withholds funds disbursement, and investigates whether other accounts are involved in

4    unlawful activities.

 5           25.     In addition to the measures discussed above, Amazon actively cooperates with

 6   rights owners and law enforcement to identify and prosecute bad actors suspected of engaging in

 7   illegal activity. Lawsuits, like this one, as well as criminal referrals, are integral components of

 8   Amazon’s efforts to combat counterfeits and other inauthentic products.
     Amazon's

 9           B.     Nintendo and Its Anti-Counterfeiting Efforts
10           26.    Nintendo has made substantial investments in the development, marketing and

11   promotion of its innovative products. Nintendo is committed to protecting the hard work and

12   creativity of video game engineers and developers who devote significant time and effort to

13   create experiences that bring smiles to all. Nintendo goes to great lengths to protect consumers

14   from counterfeits of its products, and is committed to leading efforts to combat counterfeit

15             Nintendo’s efforts include registration of the intellectual property rights in and to its
     products. Nintendo's

16   video game consoles, software and accessories in the United States and around the world.

17   Nintendo utilizes both internal and external resources to combat counterfeit and infringing

18   products. Nintendo works with a third-party brand protection service vendor on the detection and

19   removal of product listings violating Nintendo's
                                           Nintendo’s IP rights that are identified and sold in

20   Amazon’s stores Nintendo works regularly and collaboratively with Amazon to identify
     Amazon's

21   counterfeit Nintendo products and to strengthen automated detection and removal of the products

22   from Amazon's
          Amazon’s stores. Nintendo is currently enrolled in Brand Registry and Project Zero.

23           C.     Defendants Created Amazon Selling Accounts, Agreed Not to Sell
                    Counterfeit Goods, and Agreed to Provide Accurate Information to Amazon
24

25           27.    At various times between March 2018 and April 2023, Defendants established,

26   controlled, and operated the nine (9) Selling Accounts detailed in Schedules 1A and 1B, through

27   which they sought to advertise, market, offer, distribute, and sell counterfeit Nintendo products.

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              Case 2:23-cv-01641-MJP         Document 1        Filed 10/27/23        Page 11 of 22




1    In connection with these Selling Accounts, Defendants provided Amazon with names, email

2    addresses, and bank information.

 3            28.   To become a third-party seller in the Amazon Store, sellers are required to agree

4                                  applicant’s access to and use of Amazon's
     to the BSA, which governs the applicant's                      Amazon’s services and states

 5   Amazon’s rules for selling in the Amazon Store. By entering into the BSA, each seller represents
     Amazon's

 6                        “will comply with all applicable Laws in [the] performance of its obligations
     and warrants that it "will

 7   and exercise of its rights”
                         rights" under the BSA. A true and correct copy of the applicable versions of

 8   the BSA, namely, the versions Defendants last agreed to when using Amazon's
                                                                        Amazon’s services, are

 9   attached as Exhibit B.

10            29.   Under the terms of the BSA, Amazon specifically identifies the sale of counterfeit

11            “deceptive, fraudulent, or illegal activity"
     goods as "deceptive,                        activity” in violation of Amazon's
                                                                           Amazon’s policies, reserving

12   the right to withhold payments and terminate the selling account of any bad actor who engages in

13   such conduct. Ex. B, ¶¶ 2-3. The BSA requires the seller to defend, indemnify, and hold Amazon

14   harmless against any claims or losses arising from the seller's
                                                            seller’s "actual
                                                                     “actual or alleged infringement of

15   any Intellectual Property Rights."
                               Rights.” Id. ¶
                                            ¶ 6.1.

16            30.   Additionally, the BSA incorporates, and sellers therefore agree to be bound by,

17   Amazon’s Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit C.
     Amazon's

18   The Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon

19   Store:

20                  •   The sale of counterfeit products is strictly prohibited.
21                  •   You may not sell any products that are not legal for sale, such as products that
                         have been illegally replicated, reproduced, or manufactured[.]
22
                    •   You must provide records about the authenticity of your products if Amazon
23                       requests that documentation[.]
24                  Failure to abide by this policy may result in loss of selling privileges, funds being
                    withheld, destruction of inventory in our fulfillment centers, and other legal
25                  consequences.
26   Id.

27

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           Case 2:23-cv-01641-MJP           Document 1       Filed 10/27/23        Page 12 of 22




1           31.     Amazon’s Anti-Counterfeiting Policy further describes Amazon's
                    Amazon's                                              Amazon’s commitment to

2    preventing the sale and distribution of counterfeit goods in the Amazon Store together with the

 3   consequences of doing so:

4                  •   Sell Only Authentic and Legal Products. It is your responsibility to source,
                        sell, and fulfill only authentic products that are legal for sale. Examples of
 5                      prohibited products include:
 6                      o Bootlegs, fakes, or pirated copies of products or content
 7                      o Products that have been illegally replicated, reproduced, or manufactured
 8                                                       party’s intellectual property rights
                        o Products that infringe another party's
 9                 •   Maintain and Provide Inventory Records. Amazon may request that you
                        provide documentation (such as invoices) showing the authenticity of your
10                      products or your authorization to list them for sale. You may remove pricing
                        information from these documents, but providing documents that have been
11                      edited in any other way or that are misleading is a violation of this policy and
                        will lead to enforcement against your account.
12
                   •   Consequences of Selling Inauthentic Products. If you sell inauthentic
13                      products, we may immediately suspend or terminate your Amazon selling
                        account (and any related accounts), destroy any inauthentic products in our
14                      fulfillment centers at your expense, and/or withhold payments to you.
15                 •   Amazon Takes Action to Protect Customers and Rights Owners. Amazon also
                        works with manufacturers, rights holders, content owners, vendors, and
16                      sellers to improve the ways we detect and prevent inauthentic products from
                        reaching our customers. As a result of our detection and enforcement
17                      activities, Amazon may:
18                      o Remove suspect listings.
19                      o Take legal action against parties who knowingly violate this policy and
                          harm our customers. In addition to criminal fines and imprisonment,
20                        sellers and suppliers of inauthentic products may face civil penalties
                          including the loss of any amounts received from the sale of inauthentic
21                        products, the damage or harm sustained by the rights holders, statutory
                                                    attorney’s fees.
                          and other damages, and attorney's
22
                   •   Reporting Inauthentic Products. We stand behind the products sold on our site
23                      with our A-to-z Guarantee, and we encourage rights owners who have
                        product authenticity concerns to notify us. We will promptly investigate and
24                      take all appropriate actions to protect customers, sellers, and rights holders.
                        You may view counterfeit complaints on the Account Health page in Seller
25                      Central.
26   Id.

27

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           Case 2:23-cv-01641-MJP           Document 1        Filed 10/27/23       Page 13 of 22




1           32.     Additionally, under the terms of the BSA, sellers agree that the information and

2    documentation they provide to Amazon in connection with their selling accounts
                                                                           accounts—such
                                                                                   -such as

 3   identification, contact, and banking information—will, at all times, be valid, truthful, accurate,

4    and complete. Specifically, the BSA requires that:

 5                  •   As part of the application process, you must provide us with your (or your
                         business’) legal name, address, phone number and e-mail address, as well as
                         business')
 6                       any other information we may request. Ex. B. ¶ ¶ 1.
 7                  •   You will use only a name you are authorized to use in connection with a[ny
                         Amazon] Service and will update all of the information you provide to us in
 8                       connection with the Services as necessary to ensure that it at all times remains
                                                            ¶ 2.
                         accurate, complete, and valid. Id. ¶
 9
                    •   Each party represents and warrants that: (a) if it is a business, it is duly
10                       organized, validly existing and in good standing under the Laws of the
                         country in which the business is registered and that you are registering for the
11                       Service(s) within such country; (b) it has all requisite right, power, and
                         authority to enter this Agreement, perform its obligations, and grant the rights,
12                       licenses, and authorizations in this Agreement; (c) any information provided
                         or made available by one party to another party or its Affiliates is at all times
13                       accurate and complete[.] Id. ¶¶ 5.
14          33.     When Defendants registered as third-party sellers in the Amazon Store, and

15   established their Selling Accounts, they agreed not to advertise, market, offer, distribute, or sell

16   counterfeit products, and agreed to provide Amazon with accurate and complete information and

17   to ensure that information remained as such.

18          D.      Defendants’ Sale of Counterfeit Nintendo Products and False Information
                    Defendants'
                    Provided to Amazon
19

20          34.     On information and belief, Defendants created Selling Accounts and advertised,

21   marketed, offered, distributed, and sold Nintendo-branded products in the Amazon Store. The

22   counterfeit Nintendo-branded products sold by Defendants are identified and described in

23   Schedules 1A
               lA and 1B.

24          35.     Nintendo has reviewed physical samples and/or images of Nintendo-branded

25                                            Defendants’ Selling Accounts and determined that the
     products offered for sale and/or sold by Defendants'

26   products are inauthentic, bear counterfeit Nintendo Trademarks, and that Nintendo has never

27   authorized the sale of such products, as detailed in Schedules 1A and 1B.

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           Case 2:23-cv-01641-MJP          Document 1        Filed 10/27/23       Page 14 of 22




1           36.     In addition, as further detailed in Schedule 1A, certain Defendants submitted

2    falsified invoices to Amazon purporting to show that their counterfeit products came from a

 3   supplier of authentic products.

4           E.      Defendants’ Coordinated Sale of Counterfeit Nintendo Products
                    Defendants'
 5          37.     On information and belief, Defendants operated in concert with one another in

 6   their advertising, marketing, offering, distributing, and selling of inauthentic Nintendo-branded

 7   products. Defendants are associated through common physical addresses, phone numbers, credit

 8   card information, and IP addresses provided to Amazon or used to access their Amazon Selling

 9   Accounts.

10          F.                       Defendants’ Selling Accounts
                    Amazon Shut Down Defendants'

11          38.     By selling (or offering to sell) counterfeit and infringing Nintendo products,

12   Defendants falsely represented to Amazon and its customers that the products Defendants sold

13   (or offered for sale) were genuine products made by Nintendo. Defendants also knowingly and

14                  Nintendo’s IP in connection with the advertising, marketing, offering, distributing,
     willfully used Nintendo's

15   and selling of counterfeit and infringing Nintendo products.

16          39.     At all times, Defendants knew they were prohibited from violating third-party IP

17   rights or any applicable laws while selling products in the Amazon Store, from providing

18   inaccurate information to Amazon and its customers, from misrepresenting the authenticity of

19   the products sold (or offered for sale), and from misleading Amazon and its customers through

20   their sale (or offering for sale) of inauthentic Nintendo products. Defendants have breached the

21                                                  Amazon’s customers and Amazon, infringed
     terms of their agreement with Amazon, deceived Amazon's

22   and misused the IP rights of Nintendo, harmed the integrity of and customer trust in the Amazon

23   Store, and tarnished Amazon's
                          Amazon’s and Nintendo's
                                       Nintendo’s brands.

24          40.                           Defendants’ sale of counterfeit Nintendo products, it
                    After Amazon verified Defendants'

25                    Defendants’ Selling Accounts. In doing so, Amazon exercised its rights under
     promptly blocked Defendants'

26   the BSA to protect its customers and the reputations of Amazon and Nintendo.

27

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           Case 2:23-cv-01641-MJP             Document 1      Filed 10/27/23       Page 15 of 22




1                                              V.     CLAIMS

2                                        FIRST CLAIM
                               (by Nintendo against all Defendants)
 3            Trademark Counterfeiting and Trademark Infringement —15
                                                                    – 15 U.S.C. § 1114
4            41.     Plaintiff Nintendo incorporates by reference the allegations of the preceding

 5   paragraphs as though set forth herein.

 6           42.     Defendants’ activities constitute counterfeiting and infringement of the Nintendo
                     Defendants'

 7   Trademarks as described in the paragraphs above.

 8           43.     Nintendo owns the Nintendo Trademarks and advertises, markets, offers,

 9   distributes, and sells its products using the Nintendo Trademarks described above and uses those

10   trademarks to distinguish its products from the products and related items of others in the same

11   or related fields.

12           44.                Nintendo’s long, continuous, and exclusive use of the Nintendo
                     Because of Nintendo's

13   Trademarks identified in this Complaint, the trademarks have come to mean, and are understood

14   by customers and the public to signify, products from Nintendo.

15           45.     Defendants unlawfully advertised, marketed, offered, distributed, and sold

16   products bearing counterfeit and infringing versions of the Nintendo Trademarks with the intent

17   and likelihood of causing customer confusion, mistake, and deception as to the products'
                                                                                    products’ source,

18   origin, and authenticity. Specifically, Defendants intended customers to believe, incorrectly, that

19   the products originated from, were affiliated with, and/or were authorized by Nintendo and likely

20   caused such erroneous customer beliefs.

21           46.                    Defendants’ wrongful conduct, Nintendo is entitled to recover its
                     As a result of Defendants'

22   actual damages, Defendants'
                     Defendants’ profits attributable to the infringement, treble damages, and

23   attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, Nintendo is entitled to
     attorneys'

24   statutory damages under 15 U.S.C. § 1117(c) for Defendants'
                                                     Defendants’ use of counterfeit marks.

25           47.     Nintendo is further entitled to injunctive relief, including an order impounding all

26                                                                    Defendants’ possession.
     counterfeit and infringing products and promotional materials in Defendants'

27   Nintendo has no adequate remedy at law for Defendants'
                                                Defendants’ wrongful conduct because, among

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           Case 2:23-cv-01641-MJP             Document 1        Filed 10/27/23       Page 16 of 22




1    other things: (a) the Nintendo Trademarks are unique and valuable properties that have no

2                                           Defendants’ counterfeiting and infringing activities
     readily determinable market value; (b) Defendants'

 3                                   Nintendo’s reputation and goodwill such that Nintendo could
     constitute harm to Nintendo and Nintendo's

4    not be made whole by any monetary award; (c) if Defendants'
                                                     Defendants’ wrongful conduct is allowed to

 5   continue, the public is likely to become further confused, mistaken, or deceived as to the source,

 6   origin, or authenticity of the counterfeit and infringing materials; and (d) the resulting harm to

 7                   Defendants’ wrongful conduct is likely to be continuing.
     Nintendo due to Defendants'

 8                                           SECOND CLAIM
                                    (by Nintendo against all Defendants)
 9                 False Designation of Origin and False Advertising —15
                                                                     – 15 U.S.C. § 1125(a)
10           48.      Plaintiff Nintendo incorporates by reference the allegations of the preceding

11   paragraphs as though set forth herein.

12           49.      Nintendo owns the Nintendo Trademarks and advertises, markets, offers,

13   distributes, and sells its products using those trademarks described above, and uses the

14   trademarks to distinguish its products from the products and related items of others in the same

15   or related fields.

16           50.                 Nintendo’s long, continuous, and exclusive use of the Nintendo
                      Because of Nintendo's

17   Trademarks identified in this Complaint, the trademarks have come to mean, and are understood

18   by customers, users, and the public, to signify products from Nintendo.

19           51.      Defendants’ wrongful conduct includes the infringement of the Nintendo
                      Defendants'

20   Trademarks in connection with Defendants'
                                   Defendants’ commercial advertising, marketing, offering,

21   distributing, and selling of counterfeit Nintendo products in interstate commerce.

22           52.       In advertising, marketing, offering, distributing, and selling products bearing

23   counterfeit versions of the Nintendo Trademark, Defendants have used, and on information and

24   belief continue to use, the trademarks referenced above to compete unfairly with Nintendo and to

25                                                   Defendants’ wrongful conduct misleads and
     deceive customers. Upon information and belief, Defendants'

26   confuses customers and the public as to the origin and authenticity of the goods and services

27

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           Case 2:23-cv-01641-MJP             Document 1      Filed 10/27/23       Page 17 of 22




1    advertised, marketed, offered, distributed, or sold in connection with the Nintendo Trademarks

2                               Nintendo’s goodwill and business reputation.
     and wrongfully trades upon Nintendo's

 3          53.      Defendants’ conduct constitutes (a) false designation of origin, (b) false or
                     Defendants'

4    misleading description, and (c) false or misleading representation that products originate from or

 5   are authorized by Nintendo, all in violation of 15 U.S.C. § 1125(a)(1)(A).

 6          54.      Defendants’ conduct also constitutes willful false statements in connection with
                     Defendants'

 7   goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

 8   § 1125(a)(1)(B).

 9          55.       Nintendo is entitled to an injunction against Defendants, their officers, agents,

10   representatives, servants, employees, successors and assigns, and all other persons in active

11   concert or participation with them, as set forth in the Prayer for Relief below. Defendants'
                                                                                      Defendants’ acts

12   have caused irreparable injury to Nintendo. On information and belief, that injury is continuing.

13   An award of monetary damages cannot fully compensate Nintendo for its injuries, and Nintendo

14   lacks an adequate remedy at law.

15          56.      Nintendo is further entitled to recover Defendants'
                                                             Defendants’ profits, Nintendo's
                                                                                  Nintendo’s damages

16   for its losses, and Nintendo'
                         Nintendo’ costs to investigate and remediate Defendants'
                                                                      Defendants’ conduct and bring

17   this action, including its attorneys'
                                attorneys’ fees, in an amount to be determined. Nintendo is also entitled

18   to the trebling of any damages award as allowed by law.

19                                           THIRD CLAIM
                                    (by Amazon against all Defendants)
20                False Designation of Origin and False Advertising —15
                                                                    – 15 U.S.C. § 1125(a)
21          57.      Plaintiff Amazon incorporates by reference the allegations of the preceding

22   paragraphs as though set forth herein.

23          58.      Amazon’s reputation for trustworthiness is at the heart of its relationship with
                     Amazon's

24              Defendants’ actions in selling counterfeits pose a threat to Amazon's
     customers. Defendants'                                                  Amazon’s reputation

25   because they undermine and jeopardize customer trust in the Amazon Store.

26          59.       Specifically, Defendants deceived Amazon and its customers about the

27   authenticity of the products they were advertising, marketing, offering, distributing, and selling,

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           Case 2:23-cv-01641-MJP           Document 1        Filed 10/27/23       Page 18 of 22




1                                                   Amazon’s Anti-Counterfeiting Policies.
     in direct and willful violation of the BSA and Amazon's

2    Defendants’ deceptive acts were material to Amazon's
     Defendants'                                 Amazon’s decision to allow Defendants to sell their

 3   products in the Amazon Store because Amazon would not have allowed Defendants to do so but

4    for their deceptive acts.

 5          60.     In advertising, marketing, offering, distributing, and selling counterfeit Nintendo

 6   products in the Amazon Store, Defendants made false and misleading statements of fact about

 7   the origin, sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).

 8          61.     Defendants’ acts also constitute willful false statements in connection with goods
                    Defendants'

 9   and/or services distributed in interstate commerce in violation of 15 U.S.C. § 1125(a)(1)(B).

10          62.     As described above, Defendants, through their illegal acts, have willfully

11   deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

12   Store, tarnished Amazon's
                      Amazon’s brand and reputation, and harmed Amazon and its customers.

13   Defendants’ misconduct has also caused Amazon to expend significant resources to investigate
     Defendants'

14              Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from
     and combat Defendants'

15   causing further harm to Amazon and its customers. Defendants'
                                                       Defendants’ illegal acts have caused

16   irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to the

17   extent that Defendants continue to establish selling accounts under different or false identities.

18   An award of monetary damages alone cannot fully compensate Amazon for its injuries, and thus

19   Amazon lacks an adequate remedy at law.

20          63.     Amazon is entitled to an injunction against Defendants, their officers, agents,

21   representatives, servants, employees, successors and assigns, and all other persons in active

22   concert or participation with them, as set forth in the Prayer for Relief below, along with its

23   attorneys’ fees and costs in investigating and bringing this lawsuit.
     attorneys'

24          64.     Amazon is also entitled to recover its damages arising from Defendants'
                                                                                Defendants’ sale of

25   counterfeit products in the Amazon Store.

26

27

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              Case 2:23-cv-01641-MJP              Document 1         Filed 10/27/23            Page 19 of 22




1                                           FOURTH CLAIM
                              (by Nintendo and Amazon against all Defendants)
2                Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
 3              65.     Plaintiffs incorporate by reference the allegations of the preceding paragraphs as

4    though set forth herein.

 5              66.     Defendants’ advertising, marketing, offering, distributing, and selling of
                        Defendants'

 6   counterfeit Nintendo products constitute an unfair method of competition and unfair and

 7   deceptive acts or practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

 8              67.     Defendants’ advertising, marketing, offering, distributing, and selling of
                        Defendants'

 9   counterfeit Nintendo products harm the public interest by deceiving customers about the

10   authenticity, origins, and sponsorship of the products.

11              68.     Defendants’ advertising, marketing, offering, distributing, and selling of
                        Defendants'

12   counterfeit Nintendo products directly and proximately causes harm to and tarnishes Plaintiffs'
                                                                                         Plaintiffs’

13   reputations and brands, and damages their business and property interests and rights.

14              69.     Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and

15                                 attorneys’ fees and costs. Nintendo further seeks to recover from
     recover from Defendants their attorneys'

16   Defendants its actual damages, trebled, and Amazon further seeks to recover from Defendants its

17   actual damages, trebled, with regards to Defendants'
                                              Defendants’ activities involving the sale of counterfeit

18   products.

19                                            FIFTH CLAIM
                                                LLC1 against Schedule 1A
                        (by Amazon.com Services LLC                   IA Defendants)
20                                          Breach of Contract
21              70.     Plaintiff Amazon incorporates by reference the allegations of the preceding

22   paragraphs as though set forth herein.

23              71.                                                                     Amazon’s
                        Defendants established Amazon selling accounts and entered into Amazon's

24   BSA, a binding and enforceable contract between Defendants and Amazon. Defendants also

25   contractually agreed to be bound by the policies incorporated by reference into the BSA,

26

27   1
                                   “Amazon” shall refer to Amazon.com Services LLC only.
         For the Fifth Claim only, "Amazon"

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           Case 2:23-cv-01641-MJP              Document 1       Filed 10/27/23       Page 20 of 22




1              Amazon’s Anti-Counterfeiting Policy and other policies as maintained on the Amazon
     including Amazon's

2    seller website.

 3          72.        Amazon performed all obligations required of it under the terms of the contract

4    with Defendants or was excused from doing so.

 5          73.        Defendants’ sale and distribution of counterfeit Nintendo products materially
                       Defendants'

 6   breached the BSA and the Anti-Counterfeiting Policy in numerous ways. Among other things,

 7   Defendants’ conduct constitutes infringement and misuse of the IP rights of Nintendo.
     Defendants'

 8          74.        In furtherance of their sale and distribution of counterfeit Nintendo products,

 9   certain Defendants in Schedule 1A further breached the BSA and its incorporated policies by

10   submitting falsified documents to Amazon in order to obtain approval to sell the products in the

11   Amazon Store.

12          75.        Defendants’ breaches have caused significant harm to Amazon, and Amazon is
                       Defendants'

13   entitled to damages in an amount to be determined.

14                                      VI.     PRAYER FOR RELIEF
15          WHEREFORE, Plaintiffs respectfully pray for the following relief:

16          A.         That the Court enter an order permanently enjoining Defendants, their officers,

17   agents, representatives, servants, employees, successors, assigns, and all others in active concert

18   or participation with them, from:

19                     (i)
                       (i)     selling products in Amazon's
                                                   Amazon’s stores;

20                     (ii)    selling products to Amazon or any affiliate;

21                     (iii)   opening or attempting to open any Amazon selling accounts;

22                     (iv)    importing, manufacturing, producing, distributing, circulating, offering to

23                             sell, selling, advertising, promoting, or displaying any product or service

24                             using any simulation, reproduction, counterfeit, copy, or colorable

25                                          Nintendo’s brand or trademarks, or which otherwise infringes
                               imitation of Nintendo's

26                             Nintendo’s IP, on any platform or in any medium; and
                               Nintendo's

27

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           Case 2:23-cv-01641-MJP           Document 1       Filed 10/27/23        Page 21 of 22




1                   (v)     assisting, aiding, or abetting any other person or business entity in

2                           engaging in or performing any of the activities referred to in

 3                          subparagraphs (i) through (iv) above;

4           B.      That the Court enter judgment in Plaintiffs'
                                                     Plaintiffs’ favor on all claims brought by them;

 5          C.      That the Court enter an order pursuant to 15 U.S.C. § 1118 impounding and

 6   permitting destruction of all counterfeit and infringing products bearing the Nintendo

 7   Trademarks or that otherwise infringe Nintendo's
                                           Nintendo’s IP, and any related materials, including

 8   business records and materials used to reproduce any infringing products, in Defendants'
                                                                                  Defendants’

 9   possession or under their control;

10          D.      That the Court enter an order requiring Defendants to provide Plaintiffs a full and

11                                                                                 Defendants’
     complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants'

12   unlawful activities;

13          E.      That the Court enter an order requiring Defendants to pay all general, special, and

14   actual damages which Nintendo has sustained, or will sustain as a consequence of Defendants'
                                                                                      Defendants’

15                           Defendants’ profits from the unlawful conduct described herein, together
     unlawful acts, plus the Defendants'

16   with its statutory damages, and that such damages be enhanced, doubled, or trebled as provided

17   for by 15 U.S.C. § 1117, RCW 19.86.020, or otherwise allowed by law, and that Amazon's
                                                                                   Amazon’s

18                 Defendants’ profits, related to Defendants'
     damages, plus Defendants'                     Defendants’ activities involving the sale of

19   counterfeit products be enhanced, doubled, or trebled as provided for by 15 U.S.C. § 1117, RCW

20   19.86.020 or otherwise allowed by law;

21          F.      That the Court enter an order requiring Defendants to pay the maximum amount

22   of prejudgment interest authorized by law;

23          G.      That the Court enter an order requiring Defendants to pay the costs of this action

24       Plaintiffs’ reasonable attorneys'
     and Plaintiffs'            attorneys’ fees incurred in prosecuting this action, as provided for by

25   15 U.S.C. § 1117, RCW 19.86.020, or otherwise allowed by law;

26          H.      That the Court enter an order requiring that identified financial institutions

27                                                                Defendants’ unlawful counterfeiting
     restrain and transfer to Plaintiffs all amounts arising from Defendants'

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           Case 2:23-cv-01641-MJP           Document 1        Filed 10/27/23       Page 22 of 22




1    activities as set forth in this lawsuit, up to a total amount necessary to satisfy monetary judgment

2    in this case; and

 3          I.      That the Court grant Plaintiffs such other, further, and additional relief as the

4    Court deems just and equitable.

 5

 6          DATED this 27th day of October, 2023.

 7                                                     DAVIS WRIGHT TREMAINE LLP
                                                                 for Plaintiffs'
                                                       Attorneysfor  Plaintiffs
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